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UNITED STATES DISTRICT COURT _.w
MIDDLE DISTRICT OF FLORIDA . "
FORT MYERS DIVISION .§-_','i

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SONIA ARCINIEGA,

Ptaimirr, CASE No.; _ _ ..i_ _' ij 'U
mclean/1
_VS_ ` ;'~j` ;_
'. - co
CHE.CK MART oF FLoRIDA, tNC. afb/a .IURY TRIAL DEMANDEI)
THE CHECK CASHING STORE,

 

Defendant.
f
C()MPLAINT
`l. Plaintiff alleges violation of the 'I`elephone Consumer Protection Act, 47 U.S.C. §22? er

.s‘eq. (“TCPA") and the Florida Consumer Colleetion Pracliccs Act, Fla. Stat. §559.55 et seq.
(“FCCPA"").

2. "‘Scnator Hollings._ the 'I`CPA`s sponsor. described these calls as ‘the *1256 Scourge of
modern civilization, they wake us up in the morning; they interrupt our dinner at night; they
force the sick and elderly out of bcd; they bound us until we want to rip the telephone out ol" the
wall.’ 13? Cong. Rcc. 30, 821 (l99l). Senator llo|lings presumably intended to give telephone
subscribers another option: telling the autodialers to simply stop callirig."’ Osc')rr`o v. State Farm
Ij’ank, F.S.B., 746 F. 3D 1242 (C.A. 11,2(114).

JURISDICTION AN]) VENUE

3. Jurisdiction and venue l`or purposes of this action are appropriate and conferred by 23
U.S.C. §1331.
4. Thc alleged violations described in the Complaint occurred in Lec County, Florida.

FAC'I`UAL ALLEGATI()NS

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5. Plaintiff is a natural person, and citizen of the State of Florida, residing in ice County,
Florida
6. Plaintil`l` is a ‘“consumer"' as defined in Florida Statute 559.55(2).

?'. Plaintiff is an “alleged debtor."`

8. Plaintit`t` is the "callcd party."’ See Sonnet v. Enhanced Recovery Co.. LLC, 629 F.3d 637,
643 (';`th Cir.2012), Osorio v. State Farm Bank. F.S.B., F!46 f. 3D 1242 (C.A. ll (Fla.) 21}14) and
Bt‘eslow v. Wells Fargo Bank, N.A., 2014 WL 2565984 (C.A. ll (Fla.) 2014).

9. Defendant, CHECK MAR'I` OF FLORIDA d/h/a THE CHECK CASHING STORE
(hereinaiter “Check Mart”), is a corporation with its principal place of business at 1436
Lancaster Ave., Suitc 3{)0, Berwyn, PA `19312-1288 and conducting business in the state of
Florida through its registered agent, NRAI Services, Inc., 1200 South Pine Island Rd., Suite 4,
Plantation, FL 33324.

`l(l. The debt that is the subject matter ol` this complaint is a "consnmer debt"" as defined by
Florida Statute §559.55(1).

ll. Check Mart called the Plaintiff approximater three hundred (3(}{}) times since August
2(}14, in an attempt to collect a dcht.

12. Check Mart attempted to collect a debt from the Plaintift" hy this campaign of telephone
calls.

_13. Check Mart intentionally harassed and abused PlaintihC on numerous occasions by calling
several times during one day, and on back to back days, with such frequency as can reasonably
be expected to harass.

14. On information and beliei`, the telephone calls were placed using automated telephone

dialng equipment, without human intervention

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15. Each call Check Mart made to the P|aintit`i" was made using an ""automatic telephone
dialing system"’ which has the capacity to store or produce telephone numbers to he called. using
a random or sequential number generator; and to dial such numbers as specified by 47 U.S.C
§227(21)(`1).

16. ln fact, Check Mart’s corporate representative has sworn to the l`act that Check Mark uses
an automatic telephone dialing system.

17. Each call Check Mart made to the Plaintil`i"'s cell phone was done so without the “express
permission"" ol` the Plaintiff`.

18. On numerous occasions Plaintil`t` answered and spoke to agents of Cheek Mart,
instructing them to stop calling, but her efforts at getting the calls to cease were futile as Check
Mart continued the boml)ardment.

19. On one occasion when Plainti[i informed an agent of Check Mart to stop calling her, the
agent responded that il` Plaintifl` did not pay the amount in question her account would sent to
collections and it would appear on her credit report.

20. On another occasion when Plaintiff informed an agent oi` Check Mart to stop calling her,
the agent informed her that Check Mart will not stop calling.

21. Due to the tremendous volume of calls Plaintifl` was not able to keep track of each one,
however below is a sampling of the automated calls Plaintift` received from Check Mart'.

i) 9 calls on September `l 1, 2014 at 9:04am, 10:`l6a1n, 11:30am, 12:3 lpm, 1:37pm,
2:26pm, 3:36pm, 3:36pm, and 4:40pm

ii) 10 calls on Septcmber 12, 2014 at l{}:USam, 11:11am, 12:25pm, 2:00pm, 2:57pm,
3:49pm, 4:10pm, 5:04pm, 6:08pm and 7:3()pm

iii) 4 calls on September13._ 2014 at 10:03am, 10:37am, 12:44pm and l:43pm

iv) 7 calls on September `1_5, 2014 at l l:lSam, l2:14pm, 1:32pm, 2:43pm, 4:30pm,
5:18pm and 6:32pm

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xviii)

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xxii)

13 calls on September 16, 2014 at 9:05am, 9:23am, 9:40am, 9:43am, 10:14am,
ll:17am, 12:22pm, l:39pm, 2:52pm, 4:20pm, 51 l4pm. 5:17pm and 6:19pm.

9 calls on September `l7, 2014 at `10: l'?am1 `11:01am, l:l lpm, 2:19pm, 3:10pm,
4:25pm, 5:40pm, 6:43pm and 7:56prn

10 calls on Septemher 18, 2014 at l):04am, 10:10am, 11:20am. l2:21pni, `l:33prn,
2:39pm, 4:23pm, 4:38pm, 6:01prn and 7:38pm.

9 calls on September 19, 2014 at 10:26am 12:16pm, 1:02pm, 2:08pm, 3:00pm,
4:06pm, 5:03pm, 6:0 | pm and 7:17pm

3 calls on Septernber 20, 2014 at 10:05am, 11:06am and 12:28pm

9 calls on September 22, 2014 at 9:05am, 10:07am, 11:05am, 12:22pm, 1:27pm,
2:35pm, 3:58pm, 4:48pm and 5:33pm

10 calls on September 23, 2014 at 3:103m, 10:11am, 10:18am, ll:10am,
l2:15pm,1:09pm, 2:1 lpm_. 3:13pm, 4:20pm and 7:21pm.

7 calls on September 24, 2014 at 9:03am, l(l:l`l_am, 11:07am, l2:29pm, `l :36pm,
2:44pm and 51 lSpm

7 calls on September 25, 2014 at 8:04am, 10:06am, 11:19am, l:39pm, 4:15pm,
5:30pm and 6:55pm

1 call on Octoher 1, 2014 at 3:15pm

9 calls on October 2, 2014 at "~):SSpm, 11:35am_, 1:05pm, 2:54pm, 3:53pm,
4:30pm, 5:30pm, 6:32pm, and 7:33pm

3 calls on October 3, 2014 at 10:00am, 3:55pm and 5:02pm
5 calls on October 6_, 2014 at S:llam, 10:02am, 3:4lpm, 4:40pm and 7:26pm

9 calls on October 7, 2014 at '~):08am, 10: l2am, l2:28pm, l:31pm, 2:32pm,
3:46pm, 4:11pm, 4:53pm and 5:39pm

7 calls on Octobcr 8, 2014 at 8:05am, 10:10am, 2:40pm, 3:10pm, 4:02pm, 4:52prn
and 6:`l4pm

6 calls on Octoher 9, 2014 at 9:06am, 10:07am, 'l |:13am, |2:26pm, l:50prn and
4:09pm

2 calls on October 10, 2014 at 5:23prn and 6:27pm

3 calls on October 11, 2014 at 10:1() am, `10:59am and 11:59am
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22.

23.

xxiii) 2 calls on October `13, 2014 at 10:09am and 5116pm

xxiv) 2 calls on October 14, 2014 at 9:05am and 5:43pm

xxv) 4 calls on October 15, 2014 at S:SSam, 12:19pm, 4:25pm and 6:11pm
xxvi) 3 calls on October 16, 2014 at 9:05am, 1 1:`15am and l:27pm

xxvii) 2 calls on October 17, 2014 at 9:05am and 4:38pm

xxviii) 2 calls on October 20, 2014 at 8:06am and 2:07pm

xxix) 4 calls on Octoher 21, 2014 at 8:56am, 12:07pm_. 2:04pm and 41 lSpm
xxx) 1 call on October 28, 2014 at 2:51pm

xxxi) 4 calls on October 291 2014 at 1`1: 16am, `l2:1_2pm, 2:22pm and 3:58pm

xx'xii) 6 calls on October 30, 2014 at 9:13am, 10:20am, 11 :16am, l2:20pm, 1:23pm and
5:55pm

xxxiii) 6 calls on October 31, 2014 at S:t}4am, 1.1:04am, 12:18pm, 3:03pm, 4:28pm and
5:50pm

xxxiv) 7 calls on November 3, 2014 at 8:05am, 11:5 |am, 12;56pm, 2:`1 lpm, 3:33pm,
4:33pm and 6:01pm

xxxv) 4 calls on Novcmber 4, 2014 at 8102an1, ll]:§§am, l:53pm and 1:54pm
xxxvi) 1 call on November 12, 2014 at 3:04pm

xxxvii)2 calls on November 13, 2014 at 1`1:07am and 5:02pm

xxxviii) 1 call on November 17, 2014 at 10:30am

Check Mart has one ol`_. if not the most, illegal collection systems in the country.

Plaintiff received the following text from Check Mart on Septeml)er 8, 2014 at 3:06pm to

her cellular telephone: “S()N|A Your short term loan is overdue. Int`o about your intent

regarding re-payment oi"your bal ot`374.99 is rcq`d. Reply)’call 801902664 Monica.""

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24. Plaintiff received the following text from Check Mart on September 23, 2014 at 12:04pm
to her cellular telephone: "`SONIA please respond to this text or ca11 80199026(14 regarding your
past due balance 01`374.99 on your payday loan. 'l`hank you.”

25. Plaintiff received the following text from Check Mart on Scptember 24, 2014 at 12:25pm
to her cellular telephone: "'l-li SONIA this is the Check Cashing Store. Please respond to this text
or call us back 8019902664 regarding your past due balance with us. 'I`hank you."

26. Plaintiff received the following text from Check Mart on Seplember 24, 2014 at 12:59pm
to her cellular telephone: “SON|:’\ to avoid further collection activity on your loan, reply immed
to clear your bal 01`374.99. Sched avlbl. Reply!Call 8019902664 Monica."

27. Plaintiff received the following text from Check Mart on October 3, 2014 at 3:51pm to
her cellular telephone: "SONIA to avoid further collection activity on your loan. respond immed
to clear your bal 01`374.99 or sched thru 10717 Reply/'call 8019902661."'

28. Plaintiff received the following text from Check Mart on October 7, 2014 at 11:43am to
her cellular telephone: ""SON[A your acct is 31+ days past due may be up for Mngr review.
Pleasc CALL;'REPLY 8019902664 2 make pymt or schedule your bal ol"374.99."

29. Plaintiff received the following text from Check Mart on October 10, 2014 at 12:33pm to
her cellular telephone: “SONIA to avoid further collections on your loan. reply immed to clear
your bal of374.99. Sched avlb[ thru 10.“'25 l{cply!Call 8019902664."

30. Plaintifi` received the following text from Check Mart on October 14, 2014 at 4:09pm to
her cellular telephone: “SONIA Your short term loan hal ol` 374.99 is over due. lnfo about your
intent regarding rc~payment is requested Reply or ca11 Monica 801-990»2664."`

31. Plaintift` received the following text from Check Mart on October 23, 2014 at 3:43pm to
her cellular telephone: "'T his is the Chcck Cashing Storc. Your account is now over 30 days past

due. To avoid further collections call 801-990»2664 or reply."
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32. Plaintiff received the following text from Check Mart on October 24, 2014 at 2:18pm to
her cellular telephone: “This is the Check Cashing Store. Your account is now over 30 days past
due. To avoid further collections call 801-990-2664 or rep|y."'

33. Plaintiff received the following text from Check Mart on October 27, 2014 at 3:50pm to
her cellular telephone: "'l`his is the Check Cashing Store. Your account is now over 30 days past
due. To avoid further collections call 801~99(_1-2664 or reply."'

34. Plaintiff received the following text from Check Mart on October 29, 2014 at 2:53pm to
her cellular telephone: i"fhis is the Check Cashing Store. Your account is now over 30 days past
due. To avoid further collections call 80`1-990-2664 or reply."'

35. Plaintiff received the following text from Check Mart on November 25, 2014 at 4:03pm
to her cellular telephone: "“Do you need assistance in making a payment arrangement'? Callfreply
1-801-990-2664 to discuss a date & amnt you can pay on PAST due loan.""

36. Plaintiff received the following text from Check Mart on November 25, 2014 at 5:26pm
to her cellular telephone: "{MoneyMart) Do you require assistance in making a payment
arrangement? Call/Reply 1-301-990-2664 to discuss a date & amount you can pay on your Past
l`)ue Loan."

37. Check Mart has a corporate policy to use an automatic telephone dialing system or a pre-
recorded or artificial voice to individuals just as they did to the 1’laintil`t`s cellular telephone in
this case.

38. Check Mart has a written policy stating that its collectors arc to continue calling
individuals despite their pleas to stop the calls.

39. Check Mart has a corporate policy to use an automatic telephone dialing system or a pre~
recorded or artificial voice._ just as they did to the Plaintif`f"s cellular telephone in this case, with

no way for the consumer, or Check Mart, to stop the calls.
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40. Check Mart in denegation of Federal Law requires individuals to put any requests for
cessation of calls to be in writing.

41. Check Mart has had numerous complaints from consumers against them across the
country asking to not be called, however the Defendant continues to call.

42. Check Mart bullies individuals by phone campaigns of terror.

43. Check Mart"s corporate policy provided no means for the Plaintiff to stop the calls.

44- None of Check Mart’s telephone calls placed to I’laintil`f were for "‘emergcncy purposes""
as specified in 47 U.S.C. §227(1))(1)(A).

45. The constant automated calls, emails and texts from Defendant to Plaintiff caused her
undue stress and anxiety.

46. Check Mart willfully and/or knowingly violated the TCPA with respect to the Plaintiff.

(Violation 01` the TCPA)

47. Plaintiff re-alleges paragraphs one (1) through forty»six (46) above and further states:

48. Defendant willfully violated the TCPA with respect to the Plaintiff. especially for each of
the auto-dia|er calls made to Plaintifl`s cellular telephone after Plaintiff notified Defendant that
Defendant was calling the wrong number and to stop calling Plaintiff.

49. Defendant knowingly violated the TCPA with respect to the Plaintiff, especially for each
of the auto-dialer calls made to Plaintil`l"s cellular telephone after Plaintiff notified Defendant to
stop calling Plaintiff.

50. Check Mart repeatedly placed non~clnergeney telephone calls to Plaintiff"s cellular
telephone using an automatic telephone dialing system or prerecorded or artificial voice without
Plaintifi`s prior express consent in violation of federal law, including 47 U.S.C §
227(b)(l)(A)(iii).

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51. Under 47 U.S.C. § 27(b)(3)(B), the Plaintiff is entitled to 5500.00 in damages for each

violation_. however if the Defcndant willfully or knowingly violated the law, the Court may

award treble damages under 47 U.S.C § 27(b)(3)(C).

52. The 'I`CPA is a strict liability statute which Check Mart has clearly violated.
WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Check Mart for statutory damages, punitive darnagcs, actual damages, costs,

interest, attorney fees, enjoinder from further violations of these parts and any other such relief

the court may deem just and proper.

MH
(Violation of the FCCPA)

53. Plaintiff re-aileges paragraphs one (1) through forty-six (46) above and further states:

54. At all times relevant to this action Check Mart is subject to and must abide by the law of
Florida, including Florida Statute § 559,72.

55. Check Mart has violated Florida Statute §559.72(7) by willfully communicating with the
debtor or any member of her or his family with such frequency as can reasonably be expected to
harass the debtor or her or his family.

56. Check Mart has violated Florida Statute §559.72(7) by willfully engaging in other
conduct which can reasonably be expected to abuse or harass the debtor or any member of her or
his family.

57. Check Mart has violated Florida Statute §559.72(6) by disclosing information concerning
the existence of a debt known to be reasonably disputed by the debtor without disclosing that
fact.

58. Check Mart`s actions have directly and proximately resulted in l)laintifl"s prior and
continuous sustaining of damages as described by Florida Statute §559.77.

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WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Check Mart for statutory damages, punitive damages, actual damages, costs,
interest, attorney fecs, enjoinder from further violations of these parts and any other such relief
the court may deem just and proper.

QQLM
(Intentional Inf`lietion of Emotional Distress)

59. Plaintiff re-alleges paragraphs one (l) through forty-six (46) above and further states:
60. Check Mart’s actions were, reckless, outrageous, intentional, deliberate, malicious,

beyond all bounds of decency, odious and utterly intolerable in a civilized society.

61. Such conduct is the type of conduct which would cause the average person to exclaim
“outrageous!"'
62. As a direct and proximate result of Check Mart`s conduct Plaintiff suffered severe

emotional distress and mental anguish.
63. Plaintiff"s emotional distress is severe and ongoing

WHEREFORE, Plaintiff respectfully demands a trial by jury of all issues so triable and
judgment against Defendant Check Mart for actual damage, enjoinder from similar conduct,
costs, interest, and any such other relief this Honorablc Court deems appropriate in the spirit of

Justice.

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Jmitted,

 

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